             IN THE UNITED STATES DISTRICT COURT
         FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                      WESTERN DIVISION

                    Civil Action No. 5:23-cv-00349-D-RN

RONALD JOHNSON,                         )
                                        )
                 Plaintiff,             )
                                        )
                                        )
                                        )
           v.                           )
                                        )
TOWN OF SMITHFIELD, and                 )
DAVID MARSHBURN                         )
                                        )
                 Defendants.            )

                    JOINT FED. R. CIV. P. 26(f) REPORT

     Pursuant to Fed. R. Civ. P. 26(f), a meeting was held on May 24, 2024,

and was attended by the Heather Benjamin and June Allison, attorneys for

Plaintiff; Daniel Mullins, attorney for Defendant Town of Smithfield; and

David Marshburn, Pro Se Defendant.

1.   Initial Disclosures.      The parties shall exchange initial disclosures

     within 14 days of the entry of the Court’s scheduling order in this matter.

2.   Issues for Discovery. Discovery will be needed on all aspects of the

     case, including the allegations raised by Plaintiff and the defenses

     proffered by Defendants, and all other issues raised by the pleadings and

     other relevant matters within the scope of Fed. R. Civ. P. 26, including




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         but not limited to the following:

                  a. All facts relating to the matters stated in Plaintiff’s complaint;

                  b. All facts related to the matters stated in Defendants’ answers

                       to Plaintiff’s Complaint;

3.       Proposed Discovery Plan. The parties jointly propose the following

         discovery plan:

                  a. Timing and Sequence of Discovery. Discovery will be

                       conducted by all parties pursuant to the Federal Rules of Civil

                       Procedure, with consideration being afforded to the schedules

                       of counsel, parties, and witnesses, and the dates in the

                       discovery plan have been set with the consideration of

                       counsel’s scheduled obligations in other pending matters.

                  b. Discovery Responses and Objections. The parties recognize

                       and agree that the rules require that if a portion of a Rule 33

                       or 34 request is objectionable, the responding party must

                       provide full answers to the portion of the request that is not

                       objectionable, along with an objection to the objectionable

                       portion.1



1 Rule 34(b)(2)(C) provides that “[a]n objection must state whether any responsive materials are being withheld on

the basis of that objection. An objection to part of a request must specify the part and permit inspection of the rest.”
The Advisory Committee Notes for the 1993 Amendment, state “like a change made in Rule 33, the rule is modified
to make clear that, if a request for production is objectionable only in part, production should be afforded with
respect to the unobjectionable portions.”

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     c. Meet and Confer Obligations. The parties agree that when a

        discovery dispute occurs such that a motion under Rule 26(c)

        or Rule 37(a) is anticipated, the party who anticipates filing a

        motion shall notify the other parties in writing of the nature

        of the dispute. Thereafter, the party sending the notice shall

        attempt to schedule a person-to-person discussion.

     d. Service. The parties agree that discovery and pleadings may

        be served by email, or if the party is represented, by the ECF-

        CF system, and that all discovery requests and notices and all

        discovery responses shall be served on all parties.

     e. Confidential Information. The parties agree that some

        information in the case may be protected by North Carolina

        state personnel laws. The parties agree that personnel

        information produced or disclosed by Defendants (or its

        employees) shall be used solely in the prosecution or defense

        of this action and shall not be used or disclosed by any person

        for any other purpose. Furthermore, any documents produced

        which are confidential or considered as confidential shall be

        returned to the party producing them upon request, or if

        represented, to that party’s counsel, within thirty (30) days

        after resolution of this action, or certify that such documents

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        have been destroyed, other than retaining such documents as

        required by law. Filing of confidential information shall be

        governed by Local Rule 79.2, EDNC.

     f. Protective Order. The parties agree that they will propose a

        mutually agreeable confidentiality/protective order, which

        shall be compliant with Hall v. United Airlines, Inc., 296

        F.Supp.2d 652 (E.D.N.C. 2003) and Local Civil Rule 79.2,

        E.D.N.C., to the Court prior to the production or disclosure of

        such confidential information, including any such information

        that may be stored electronically. Neither party waives

        asserting any available claim of privilege, immunity, or

        confidentiality.

     g. Dates. Discovery shall be commenced upon service of the

        parties’ initial disclosures and shall be completed by March

        14, 2025. Supplementations under Rule 26(e) shall be due

        within a reasonable amount of time after a party discovers

        new information that must be disclosed, provided, however,

        that during the final thirty (30) days of discovery, all

        supplementations will occur as soon as practicable so as not to

        prejudice the other party.

     h. Interrogatories.   A   maximum     of   25   interrogatories

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                       (including subparagraphs), may be propounded on each

                       separate party by each other party, unless agreed upon by the

                       parties. Responses are due in accordance with Fed. R. Civ. P.

                       33 unless extended by agreement of the parties or order of the

                       Court and must be made as provided by the Rule 33(b)(3) to

                       the unobjectionable portion of any interrogatory.2

                   i. Requests for Admission. A maximum of 25 requests for

                       admission may be propounded on each separate party by

                       each other party, unless agreed upon by the parties. Responses

                       are due in accordance with Fed. R. Civ. P. 36 unless extended

                       by Agreement of the parties or order of the Court.

                   j. Depositions. A maximum of 10 depositions by Plaintiff and a

                       maximum of 10 depositions by each Defendant, unless

                       extended by agreement of the parties or by Court order. All

                       depositions are limited to a maximum length of 7 hours, unless

                       extended by the agreement of the parties or by Court order.

                   k. Expert Witnesses. Plaintiff shall have until November 15,



2 “If, for example, an interrogatory seeking information about numerous facilities or products is deemed

objectionable, but an interrogatory seeking information about a lesser number of facilities or products would not
have been objectionable, the interrogatory should be answered with respect to the latter even though an objection is
raised as to the balance of the facilities or products. Similarly, the fact that additional time may be needed to respond
to some questions (or to some aspects of questions) should not justify a delay in responding to those questions (or
other aspects of questions) that can be answered within the prescribed time.” Notes of Advisory Committee on
Rules—1993 Amendment

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        2024, to disclose any expert witnesses. Defendants shall have

        until December 15, 2024, to disclose any expert witnesses.

     l. Electronically Stored Information and Discovery. The parties

        anticipate discovery of electronically stored information (ESI)

        and have discussed certain anticipated issues relating to the

        disclosure or discovery of ESI and report to the Court that the

        parties are jointly working on an ESI Agreement and will

        notify the court upon its completion and request the Court

        incorporate the ESI Agreement by reference into the Court’s

        Rule 26(f) Order. At this time, the parties are not aware of the

        full    extent of relevant information that may be stored

        electronically, but have identified the following potential

        sources of electronically stored evidence that may be relevant

        to a claim or defense at issue:

           i.     medical records;

          ii.     personnel records;

         iii.     social media account records;

         iv.      correspondence, including email correspondence or

                  correspondence using personal or work devices and

                  any electronically stored information, including emails

                  and text messages, relating or pertaining to the

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                     parties’ actions regarding Plaintiff’s employment

                     status and whether maintained by Plaintiff or

                     Defendants; and

          v.         any other ESI that becomes evident or known during

                     the discovery period and that would fall within the

                     scope of Fed. R. Civ. P. 26 for discovery purposes.

     m. Issues Regarding Privilege: The parties have discussed certain

        issues related to claims of privilege and protection as trial-

        preparation material and agreed upon a procedure to assert

        such claims after an inadvertent production of privileged or

        trial-preparation materials. The parties agree that if a party

        withholds documents in discovery, under Fed. R. Civ. P.

        26(b)(5)(A), the party must prepare a privilege log that

        describes the following in order to enable other parties to

        assess the claim.

                i.   The nature of the privilege or protection claimed;

               ii.   Name of the person who made and received the

                     document or communication;

           iii.      Date and place of the document or communication; and

            iv.      The document or communication's general subject

                     matter.

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          The parties agree that an inadvertent disclosure of privileged or

          trial-preparation materials (absent a clear indication of the intent

          to waive such privilege or protection) shall not be deemed a waiver

          or forfeiture of such privilege or protection provided that the party

          making the production or disclosure promptly identifies any such

          documents mistakenly produced after discovery of the inadvertent

          production. The parties further agree that, upon request, any such

          mistakenly produced documents shall be returned. In the event of

          a dispute over use of any privileged materials, the receiving party

          must sequester or destroy all copies, and may not use or

          disseminate the information contained therein until such time as

          the dispute over the claim of privilege is resolved by the Court.

4.   Other Items:

          a. The parties do not request that a Fed. R. Civ. P. 16(b) pretrial

             conference be scheduled prior to entry by the Court of its case

             management order.

          b. The parties request that a final civil pretrial conference

             pursuant to Local Rule 16.1 be scheduled within 45 days of the

             Court’s decision on any dispositive motions and at least 45 days

             before trial.



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     c. The parties shall have until August 30, 2024, to request leave

        to join additional parties or amend pleadings. After these dates,

        the Court will consider, inter alia, whether the granting of leave

        would delay trial.

     d. Supplementations under Rule 26(e) shall be due within a

        reasonable amount of time after a party discovers new

        information that must be disclosed, provided, however, that

        during     the    final   thirty   (30)   days   of   discovery,   all

        supplementations will occur as soon as practicable so as not to

        prejudice the other party.

     e. All potentially dispositive motions shall be filed no later than

        thirty (30) days after the close of the discovery period.

        Responses and replies, if any, shall be due in accordance with

        Local Rule 7.1.

     f. The parties have not yet had the opportunity to consider the

        prospects for settlement but agree that mediation of this matter

        should be conducted by February 14, 2025, the exact date of

        mediation to be set by the mediator after consultation with the

        parties.

     g. Final lists of witnesses and exhibits under Rule 26(a)(3) are due

        in accordance with Local Rule 16.1. Objections to lists of

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         witnesses and exhibits under Rule 26(a)(3) should be served in

         accordance with Local Rule 16.1.

      h. The parties request that trial be set after dispositive motions

         are ruled upon. Trial of the action is expected to take

         approximately five days. A jury trial has been demanded.

      i. At this time, the parties do not consent to use of a magistrate

         judge in this matter to conduct the trial.

      j. The parties understand that a case management order shall be

         entered immediately after receipt and consideration of the

         parties’ joint report and plan, and the issues raised in the

         pleadings, and that case deadlines established among the terms

         of the order will not be altered by the Court absent good cause

         shown.

      Respectfully submitted, this the 11th day of June, 2024.




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                       CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send electronic

notification to all registered CM/ECF participants.


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      Respectfully submitted, this the 11th day of June, 2024.


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